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  AO 245B (Rev. AO 09/11-CAN 7/14) Judgment in Criminal Case
            Sheet 1


                                     UNITED STATES DISTRICT COURT
                                              Northern District of California
             UNITED STATES OF AMERICA                                  ) JUDGMENT IN A CRIMINAL CASE
                        v.                                             )
                    Ayman Shahid                                       )     USDC Case Number: CR-14-00271-001 YGR
                                                                       )     BOP Case Number: DCAN414CR00271-001
                                                                       )     USM Number: 19755-111
                                                                       )     Defendant’s Attorney: Steve Madison (Retained)


  THE DEFENDANT:
      pleaded guilty to count: One of the Indictment
      pleaded nolo contendere to count(s): __________ which was accepted by the court.
      was found guilty on count(s): __________ after a plea of not guilty.

  The defendant is adjudicated guilty of these offenses:
  Title & Section                Nature of Offense                                                          Offense Ended         Count
  18 U.S.C. § 1344 and 18        Conspiracy to Commit Bank Fraud                                            October 2008          One
  U.S.C. § 1349


  The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the Sentencing
  Reform Act of 1984.

        The defendant has been found not guilty on count(s): __________
        Counts 2-18 are dismissed on the motion of the United States.

      It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered
to pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                           3/16/2017
                                                                           Date of Imposition of Judgment


                                                                           Signature of Judge
                                                                           The Honorable Yvonne Gonzalez Rogers
                                                                           United States District Judge
                                                                           Name & Title of Judge

                                                                           March 17, 2017
                                                                           Date
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                                                              IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:
        46 months.

The appearance bond is hereby exonerated, or upon surrender of the defendant as noted below. Any cash bail plus interest shall be
returned to the owner(s) listed on the Affidavit of Owner of Cash Security form on file in the Clerk's Office.

      The Court makes the following recommendations to the Bureau of Prisons:
      The defendant be housed in California, specifically FCI Lompoc or FCI Mendota.
      The defendant is remanded to the custody of the United States Marshal.

      The defendant shall surrender to the United States Marshal for this district:
             at __________ am/pm on ____________ (no later than 2:00 pm).

             as notified by the United States Marshal.

      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
             at 12:00 pm on 5/12/2017 (no later than 2:00 pm).

             as notified by the United States Marshal.

             as notified by the Probation or Pretrial Services Office.




                                                                RETURN
I have executed this judgment as follows:




         Defendant delivered on ______________________________ to _______________________________________ at
         ________________________________________ , with a certified copy of this judgment.




                                                                                       UNITED STATES MARSHAL

                                                                 By
                                                                                  DEPUTY UNITED STATES MARSHAL
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                                                       SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of: three (3) years.

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug
tests thereafter, as determined by the court.

      The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of future
      substance abuse. (Check, if applicable.)
      The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
      The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
      The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et
      seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
      resides, works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)
      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

         If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with
the Schedule of Payments sheet of this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.
                                       STANDARD CONDITIONS OF SUPERVISION
1)       The defendant shall not leave the judicial district without the permission of the court or probation officer;
2)       The defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five
         days of each month;
3)       The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
         officer;
4)       The defendant shall support his or her dependents and meet other family responsibilities;
5)       The defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or
         other acceptable reasons;
6)       The defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
7)       The defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
         controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
8)       The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9)       The defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person
         convicted of a felony, unless granted permission to do so by the probation officer;
10)      The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
         confiscation of any contraband observed in plain view of the probation officer;
11)      The defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
         enforcement officer;
12)      The defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without
         the permission of the court; and
13)      As directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
         defendant’s criminal record or personal history or characteristics and shall permit the probation officer to make such
         notifications and to confirm the defendant’s compliance with such notification requirement.
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                                         SPECIAL CONDITIONS OF SUPERVISION

1.       The defendant shall pay any fine and special assessment that is imposed by this judgment and that
         remains unpaid at the commencement of the term of supervised release.

2.       The defendant shall not open any new lines of credit and/or incur new debt without the prior permission
         of the probation officer.

3.       The defendant shall provide the probation officer with access to any financial information, including tax
         returns, and shall authorize the probation officer to conduct credit checks and obtain copies of income
         tax returns.

4.       The defendant shall cooperate in the collection of DNA as directed by the probation officer.

5.       The defendant shall not own or possess any firearms, ammunition, destructive devices, or other
         dangerous weapons.

6.       The defendant shall submit his person, residence, office, vehicle, or any property under his control to a
         search. Such a search shall be conducted by a United States Probation Officer at a reasonable time and
         in a reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a
         condition of release. Failure to submit to such a search may be grounds for revocation; the defendant
         shall warn any residents that the premises may be subject to searches.
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                                                  CRIMINAL MONETARY PENALTIES
           The defendant must pay the total criminal monetary penalties under the schedule of payments.

                                                      Assessment                                    Fine                                   Restitution
TOTALS                                                   $ 100                                    $ 50,000                                    N/A



      The determination of restitution is deferred until __________. An Amended Judgment in a Criminal Case (AO 245C) will be
      entered after such determination.
      The defendant must make restitution (including community restitution) to the following payees in the amount listed below.


           If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
           otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all
           nonfederal victims must be paid before the United States is paid.
Name of Payee                                         Total Loss                          Restitution Ordered                     Priority or Percentage




TOTALS                                                   $ 0.00                                    $ 0.00


       Restitution amount ordered pursuant to plea agreement $ __________
       The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
       the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be
       subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).
       The court determined that the defendant does not have the ability to pay interest and it is ordered that:
               the interest requirement is waived for the fine/restitution.
               the interest requirement is waived for the fine/restitution is modified as follows:
                __________





  Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after September 13, 1994, but
before April 23, 1996.
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                                                               SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

A              Lump sum payment of _________$50,100.00____________ due immediately, balance due

                        not later than __________ , or
                        in accordance with        C,                  D, or          E, and/or              F below); or

B              Payment to begin immediately (may be combined with                             C,          D, or        F below); or

C              Payment in equal __________ (e.g., weekly, monthly, quarterly) installments of ___________ over a period of
               __________ (e.g., months or years), to commence __________ (e.g., 30 or 60 days) after the date of this judgment; or

D              Payment in equal __________ (e.g., weekly, monthly, quarterly) installments of ___________ over a period of
               __________ (e.g., months or years), to commence __________ (e.g., 30 or 60 days) after release from imprisonment to a
               term of supervision; or
E              Payment during the term of supervised release will commence within __________ (e.g., 30 or 60 days) after release from
               imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F              Special instructions regarding the payment of criminal monetary penalties:
               When incarcerated, payment of the fine is due at the rate of not less than $25 per quarter and payment shall be
               through the Bureau of Prisons Inmate Financial Responsibility Program. Once the defendant is on supervised
               release, the fine must be paid in monthly payments of not less than $150 or at least 10 percent of earnings,
               whichever is greater, to commence no later than 60 days from placement on supervision. Any established payment
               plan does not preclude enforcement efforts by the US Attorney's Office if the defendant has the ability to pay more
               than the minimum due. Fine payments shall be made to the Clerk of U.S. District Court, Attention: Financial Unit,
               450 Golden Gate Ave., Box 36060, San Francisco, CA 94102.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

    Joint and Several

Case Number                                                       Total Amount              Joint and Several                        Corresponding Payee,
Defendant and Co-Defendant Names                                                                Amount                                  if appropriate
(including defendant number)


       The defendant shall pay the cost of prosecution.

       The defendant shall pay the following court cost(s): __________

       The defendant shall forfeit the defendant’s interest in the following property to the United States:





 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
